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                               Exhibit 23



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
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                     Washington, DC

                                                                            Page 535
                   UNITED STATES DISTRICT COURT

                FOR THE DISTRICT OF MASSACHUSETTS

    - - - - - - - - - - - - - - -

    IN RE:    PHARMACEUTICAL         )   MDL NO. 1456

    INDUSTRY AVERAGE WHOLESALE       )   CIVIL ACTION

    PRICE LITIGATION                 )   01-CV-12257-PBS

    THIS DOCUMENT RELATES TO         )

    U.S. ex rel. Ven-a-Care of       )   Judge Patti B. Saris

    the Florida Keys, Inc.           )

         v.                          )   Chief Magistrate

    Abbott Laboratories, Inc.,       )   Judge Marianne B.

    No. 06-CV-11337-PBS              )   Bowler

    - - - - - - - - - - - - - - -

              (cross-captions on following pages)



                               Washington, D.C.

                               Wednesday, March 26, 2008

                               9:22 a.m.



          Videotaped deposition of DEIRDRE DUZOR

                           Volume III




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                                             Page 536                                                  Page 538
 1      IN THE COURT OF THE SECOND JUDICIAL CIRCUIT 1    APPEARANCES OF COUNSEL
 2           IN AND FOR LEON COUNTY, FLORIDA         2
 3   ------------------)                             3 On behalf of the United States of America:
 4   THE STATE OF FLORIDA, ex rel.              )    4
 5   VEN-A-CARE OF THE FLORIDA KEYS, )               5      ANA MARIA MARTINEZ, ESQ.
 6   INC., a Florida Corporation, by and )           6      United States Department of Justice
 7   through its principal officers and )            7      99 N.E. 4th Street
 8   directors, ZACHARY T. BENTLEY and )             8      Miami, Florida 33132
 9   T. MARK JONES,                     )            9      (305) 961-9431
10           PLAINTIFFS,             ) Civil Action 10      ana.maria.martinez@usdoj.gov
11       vs.                  ) No. 98-3032A        11
12   BOEHRINGER INGELHEIM CORPORATION, )            12
13   et al.,                  ) Judge William       13 On behalf of the U.S. Department of Health &
14           DEFENDANTS.                ) L. Gary   14 Human Services:
15   ------------------)                            15
16                                                       16        BRIAN A. KELLEY, ESQ.
17                                                       17        U.S. Department of Health & Human Services
18                                                       18        Office of General Counsel, CMS Division
19                                                       19        330 Independence Avenue, S.W., Room 5345
20                                                       20        Washington, D.C. 20201
21   (CONTINUED)                                         21        (202) 205-8702
22                                                       22
                                             Page 537                                                  Page 539
 1             IN THE CIRCUIT COURT OF                       1      A P P E A R A N C E S (Cont'd)
 2            MONTGOMERY COUNTY, ALABAMA                     2
 3   ---------------                                         3 On Behalf of Dey, Inc., Dey, L.P., and Mylan:
 4   IN THE MATTER OF:              )                        4      NEIL MERKL, ESQ.
 5   ALABAMA MEDICAID                   ) MASTER DOCKET NO. 5       Kelley, Drye & Warren, LLP
 6   PHARMACEUTICAL AVERAGE                   ) CV-2005-219  6      101 Park Avenue
 7   WHOLESALE PRICE LITIGATION )                            7      New York, New York 10178
 8   ---------------                                         8      (212) 808-7811
 9   THIS DOCUMENT RELATES TO: )                             9      nmerkl@kelleydrye.com
10   ALL ACTIONS                  )                         10
11   ---------------                                        11
12                   Washington, D.C.                       12 On Behalf of Abbott Laboratories:
13                   Wednesday, March 26, 2008              13      R. CHRISTOPHER COOK, ESQ.
14         Volume III of the videotaped deposition of       14      Jones Day
15   DEIRDRE DUZOR, called for examination by counsel for 15        51 Louisiana Avenue, N.W.
16   Dey, defendants in the above-entitled matter, taken    16      Washington, D.C. 20001-2113
17   at the law offices of Jones Day, 51 Louisiana          17      (202) 879-3939
18   Avenue, N.W., Washington, D.C., the proceedings        18      ccook@jonesday.com
19   being recorded stenographically by Deborah Hommer, a   19
20   Registered Professional Reporter and Notary Public     20
21   of the District of Columbia, and transcribed under     21
22   her direction.                                         22 (CONTINUED)

                                                                                 2 (Pages 536 to 539)
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                                            Page 616                                                   Page 618
 1   program overall, how would that affect your match 1      us as to why it's a reasonable dispensing fee.
 2   rate?                                              2         Q. So you don't have any independent data
 3       A. If -- I really can't explain it. It's       3     or benchmarks that you look to?
 4   really not an area that I'm responsible for or     4         A. We do not.
 5   ever have been.                                    5         Q. You just assess the validity of the
 6       Q. Who is responsible for that?                6     evidence the state submits?
 7       A. Jim Frizzera.                               7         A. That's right.
 8       Q. Is Mr. Smith involved in that area at       8         Q. Okay. In your group, the Medicaid
 9   all?                                               9     group, is there anyone in the group that you feel
10       A. Well, yes. He is the overall director      10     has expertise in either the area of dispensing
11   of Medicaid, so yes.                              11     fees or what's appropriate in terms of ingredient
12       Q. Does Mr. Smith ever meet with your team 12        cost reimbursement?
13   to discuss in general reimbursement issues for    13            MS. MARTINEZ: Objection. Form.
14   pharmaceuticals?                                  14            THE WITNESS: We don't have any
15       A. He generally meets with me and with        15     benchmark data that we can use to assess state
16   Larry Reed and sometimes the analyst.             16     plan amendments.
17       Q. Okay. And has he ever provided             17     BY MR. MERKL:
18   direction or guidance to you on when he expects   18         Q. No, I understand that. In your group -
19   to be done or criteria he expects to be observed  19     - is there anyone within your group that you look
20   in terms of approving or disapproving state       20     to as a person who has expertise in the area of
21   plans?                                            21     assessing either ingredient costs or dispensing
22       A. We discuss them on a case-by-case          22     fees?
                                            Page 617                                                   Page 619
 1   basis, and from that we build sort of a body of      1          MS. MARTINEZ: Objection. Form.
 2   expectations of what he thinks is approvable and     2          THE WITNESS: I don't know what kind of
 3   not approvable.                                      3   expertise you're referring to.
 4       Q. And as best you can recall, would you         4   BY MR. MERKL:
 5   tell me what your current understanding of Mr.       5       Q. Well, is there anyone who is
 6   Smith's expectations in that regard are?             6   particularly experienced in examining state plans
 7       A. Yes. We generally continue to believe         7   and data submitted by the states over the years
 8   that most states are overpaying for the              8   who you consider to be knowledgeable about the
 9   ingredient cost and, therefore, were generally       9   sort of factors that should be considered or not
10   interested in approving state plans that reduce     10   considered?
11   the ingredient cost payment. And with dispensing    11       A. I consider Larry Reed and myself to be
12   fees, we are concerned that some states are         12   in that category.
13   paying high dispensing fees and proposing to pay    13       Q. Other than you two, is there anyone
14   even higher ones. And we are concerned that they    14   else?
15   may be overpaying in dispensing fees, so we are     15       A. Some of our analysts are more
16   scrutinizing those more than we are when states     16   experienced than others.
17   want to reduce ingredient costs.                    17       Q. Who are your most experienced analysts?
18       Q. When you scrutinize a state proposal to      18       A. Kim Howell, Marge Watchorn, Gail
19   increase dispensing fees, other than the material   19   Sexton.
20   the state might actually submit, what data do you   20       Q. Now, I think Mr. Smith mentioned that
21   rely on?                                            21   the pharmacy team hired an actual pharmacist.
22       A. We rely on the state making its case to      22       A. We have two pharmacists on staff.
                                                                               22 (Pages 616 to 619)
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                                              Page 868                                                 Page 870
 1   purposes of reimbursement under Medicaid?            1   amount to reverse engineer a number for
 2          MR. MERKL: Objection.                         2   reimbursement purposes?
 3          MR. GORTNER: Objection to form.               3          MR. MERKL: Objection to form.
 4          THE WITNESS: Yes. It's a statement of         4          THE WITNESS: We believe that that
 5   CMS policy reflecting what we believe to be the      5   would cause the prices that are required to
 6   correct statutory interpretation of the              6   remain confidential by statute to be revealed
 7   restrictions.                                        7   and, therefore, that would be inappropriate and
 8   BY MR. WINGET-HERNANDEZ:                             8   contrary to the statute.
 9      Q. Did it -- is it fair to characterize           9   BY MR. WINGET-HERNANDEZ:
10   this letter as being a request from the attorney    10       Q. Are you under the impression that the
11   general's office in Texas for guidance with         11   states generally are aware that they are not
12   respect to this issue?                              12   supposed to do that based on CMS' policy?
13          MR. MERKL: Objection. Form.                  13          MR. MERKL: Objection to form.
14          THE WITNESS: Yes. I believe they             14          THE WITNESS: I believe they are aware
15   asked us these questions to which we're             15   of it.
16   responding.                                         16   BY MR. WINGET-HERNANDEZ:
17   BY MR. WINGET-HERNANDEZ:                            17       Q. What is your impression of the state's
18      Q. In order to cure Mr. Merkl's objection,       18   awareness about whether or not they can reverse
19   can you describe for me, please, what this letter   19   engineer either AMP or the unit rebate amount in
20   does? What is the purpose of the letter?            20   order to estimate acquisition costs?
21      A. The purpose of the letter is to respond       21       A. Well, No state has requested permission
22   to questions raised by the Texas Vendor Drug        22   to do that in a state plan amendment, indicating
                                              Page 869                                                 Page 871
 1   Program regarding the use of unit rebate amounts     1   to me that they are aware that that would not be
 2   and other drug pricing information to set            2   acceptable to us.
 3   reimbursement, and regarding whether they could      3       Q. You've also testified in response, I
 4   take any action against manufacturers in terms of    4   believe, to Mr. Merkl's questions primarily
 5   removal from the Medicaid program or restricting     5   about, in general terms, what states could
 6   the use of drugs for manufacturers that did not      6   consider, what they might consider in the context
 7   provide them directly with the AMPs.                 7   of reaching an estimated acquisition cost. Do
 8      Q. Were they also asking you about whether        8   you remember a little bit of that testimony?
 9   they could reverse engineer the unit rebate          9       A. Yes.
10   amount in order to help them estimate acquisition   10       Q. When you talk about what the states
11   costs?                                              11   might consider or what they could consider, are
12      A. Well, I think that that was -- that was       12   you considering anything other than federal CMS
13   the basis of our responding that they could not     13   Medicaid policy or regulations?
14   use those things because reverse engineering        14       A. I'm not following the question. I'm
15   would be quite easy to do if they were to do        15   sorry. Maybe you could restate it.
16   that.                                               16       Q. Let me ask you a different way. When
17      Q. So what --                                    17   you testified earlier about what the states could
18      A. And that would breach the                     18   or might consider in reaching estimated
19   confidentiality.                                    19   acquisition costs, did you do so because you were
20      Q. Okay. So the bottom line is what?             20   aware of the details or even of the general
21   What's the answer to this state's question about    21   contours of each state's own regulatory
22   whether they can use AMP or the unit rebate         22   requirements or each state's own statutory
                                                                               85 (Pages 868 to 871)
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                                             Page 896                                                 Page 898
 1       A. Yes.                                         1   manufacturers?
 2       Q. What does average wholesale price refer      2          MS. MARTINEZ: Objection. Form.
 3   to in this 2003 chart?                              3          THE WITNESS: I don't know. I don't
 4       A. Likewise, whatever price is labeled          4   recall what the incoming letter said or -- I
 5   that in the drug pricing compendia.                 5   don't recall knowing of that fact.
 6       Q. And if I could turn your attention to        6   BY MR. COOK:
 7   States Exhibit 2, which is the May 3, 2004,         7      Q. And when you were asked questions by
 8   letter from Dennis Smith to Patrick O'Connell --    8   Mr. Winget-Hernandez about this letter, you said
 9   did you write this?                                 9   that this was an accurate reflection of how CMS
10       A. I had part of writing it. I don't know      10   interpreted the statutes that are cited here. Do
11   that I was the initial author. I don't recall.     11   I have that correct?
12       Q. I can't say as I have seen the letter       12      A. Yes.
13   that Mr. O'Connell sent to Mr. Smith. Do you       13      Q. And just so as I understand it, these
14   know if that has been produced by CMS in this      14   statutes govern the conduct of CMS and states, as
15   litigation?                                        15   I understand it, correct?
16       A. I don't know.                               16          MS. MARTINEZ: Objection. Form.
17       Q. When was the last time you saw -- well,     17   BY MR. COOK:
18   was there a letter from Mr. O'Connell to Mr.       18      Q. I can ask that a little bit better.
19   Smith?                                             19   The statute that you're referring to regarding
20       A. I believe there was, and I think the        20   the interpretation is a statute that imposes
21   response also supports that.                       21   confidentiality obligations on CMS and the states
22       Q. Do you remember what that letter said?      22   when it comes to average manufacturer's price,
                                             Page 897                                                 Page 899
 1       A. No. I mean, I assume that we                 1   right?
 2   accurately characterized the questions, but I       2       A. Well, on CMS, on the secretary -- you
 3   don't recall the letter itself at this point.       3   know, again, in terms of the states, I think it
 4       Q. Do you know who else helped write this       4   depends on whether the Secretary thinks that it's
 5   May 3, 2004, letter to Mr. O'Connell?               5   appropriate to provide it to states -- or there
 6       A. No, I don't know specifically who wrote      6   is some caveat in there.
 7   it or -- I'm sure Larry Reed was also at least      7       Q. And how did you come to determine that
 8   part of the review process.                         8   this was an accurate description of how CMS
 9       Q. Do you know why it was that Mr.              9   interprets that statute?
10   O'Connell told Mr. Smith the State of Texas was    10       A. Well, we're the interpreters of the
11   asking the question being posed here?              11   statute. That's our job.
12           MS. ALBEE: Objection. Form.                12       Q. In this particular letter, Mr. Smith
13           THE WITNESS: No, I don't recall what       13   states to Mr. O'Connell that the state cannot
14   the incoming letter -- whether that provided a     14   disclose the unit rebate amount or the AMP that
15   reason why they were asking these questions or     15   can be derived from the unit rebate amount for
16   not.                                               16   certain drugs, correct?
17   BY MR. COOK:                                       17       A. Well, it says that they may not use the
18       Q. Do you know whether Mr. O'Connell's         18   information to calculate their EAC.
19   letter -- or did anybody tell you whether Mr.      19       Q. And the reason why the states cannot
20   O'Connell's letter and Mr. Smith's response was    20   use the information to calculate the EAC --
21   in any way related to the fact that Texas had      21   that's E-A-C, right?
22   litigation pending against Abbott and other        22       A. Yes, that's correct.
                                                                              92 (Pages 896 to 899)
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                                             Page 900                                                 Page 902
 1       Q. The reason why the state cannot use the     1     pay for drugs.
 2   unit rebate amount and the AMP to calculate the    2     BY MR. COOK:
 3   EAC is because doing so would disclose the AMP     3         Q. For all you know, Wal-Mart and CVS can
 4   and, thereby, breach the confidentiality           4     purchase at lower prices than the federal supply
 5   obligations of the statute, correct?               5     schedule, right?
 6       A. That's correct.                             6            MS. MARTINEZ: Objection. Form.
 7       Q. And Mr. Smith was not telling Mr.           7            THE WITNESS: I don't believe that to
 8   O'Connell that the state somehow had to avert its  8     be the case, but I don't know that not to be the
 9   eyes from the AMP information to avoid knowing     9     case.
10   the AMP information, right?                       10     BY MR. COOK:
11          MS. ALBEE: Objection. Form.                11         Q. Why don't you believe that to be the
12          THE WITNESS: It -- it doesn't address      12     case?
13   that question.                                    13         A. Because the statute provides low
14   BY MR. COOK:                                      14     pricing for federal -- a certain federal
15       Q. But it's your understanding that the       15     purchaser and for safety net providers, and I
16   policy of CMS was that states could know the AMP 16      believe that drug companies sell their drugs for
17   information; they simply could not disclose that  17     higher prices to others than those who they have
18   to third parties, right?                          18     to sell at those very low prices.
19       A. Well, I think there is a realization       19         Q. What's your understanding of how the
20   that, for generic drugs, as we went through this  20     federal supply schedule and VA price schedules
21   morning, the math of unveiling the AMP is pretty 21      are established?
22   simplistic.                                       22         A. I don't know the details of either of
                                             Page 901                                                 Page 903
 1      Q. You gave some testimony about whether          1   them as to how they're established.
 2   retail pharmacies could purchase drugs at the        2      Q. You testified that in the time that you
 3   prices that were available under the federal         3   have had your position on the pharm -- is it the
 4   supply schedule and the 340B providers. Do you       4   pharm team, p-h-a-r-m?
 5   recall that testimony?                               5      A. Yes, it was, until we became the
 6      A. Yes.                                           6   pharmacy division.
 7      Q. How do you know that retail pharmacies         7      Q. In the time since you have been either
 8   cannot purchase drugs at those prices?               8   on the pharm team or in the pharmacy division,
 9      A. Because the statute only provides those        9   there have been no access problems or
10   prices to specified entities.                       10   participation problems in state Medicaid programs
11      Q. Just so we're clear, when you said in         11   for pharmacies to your knowledge; do I have that
12   response to questions that retail pharmacies        12   correct?
13   cannot purchase at those prices then, you weren't   13      A. That's correct.
14   expressing an opinion about how retail              14      Q. What is the largest discount off of AWP
15   pharmacies' pricing compares to the federal         15   that you're aware of that any state Medicaid
16   supply schedule, only that they can't call up and   16   program applies from AWP in order to reach its
17   order off of the federal supply schedule, right?    17   defined estimated acquisition cost?
18          MR. WINGET-HERNANDEZ: Objection.             18      A. I believe it's the State of Washington
19   Form.                                               19   that pays for generics at AWP minus 50 percent.
20          MS. MARTINEZ: Objection. Form.               20      Q. The vast majority of states are paying
21          THE WITNESS: I don't have any direct         21   a substantially higher amount than AWP minus 50
22   information as to what prices retail pharmacies     22   percent, correct?
                                                                              93 (Pages 900 to 903)
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